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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 CITY OF EVANSTON and THE UNITED
 STATES CONFERENCE OF MAYORS,

                                Plaintiffs,                Case No. 1:18-cv-04853
       v.
                                                           Hon. Harry D. Leinenweber
 JEFFERSON BEAUREGARD SESSIONS III,
 in his official capacity as Attorney General of the
 United States,

                                Defendant.



                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendant Jefferson Beauregard Sessions III, Attorney

General of the United States, hereby appeals to the United States Court of Appeals for the Seventh

Circuit from the Order granting Plaintiffs’ Motion for a Preliminary Injunction dated August 9, 2018

(Dkt. No. 23).

DATED: October 5, 2018                            Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  JOHN R. LAUSCH, JR.
                                                  United States Attorney

                                                  JOHN R. TYLER
                                                  Assistant Director

                                                  /s/ Brad P. Rosenberg
                                                  BRAD P. ROSENBERG (D.C. Bar No. 467513)
                                                  Senior Trial Counsel
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